     Case 1:22-cv-04259-SDG         Document 250    Filed 12/20/24   Page 1 of 52




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

           MARK ANDREWS,                    Case No. 1:22-cv-04259-SDG

                       Plaintiff,

                 v.

           DINESH D’SOUZA, et al.,

                       Defendants.

     PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

      Plaintiff Mark Andrews, by and through the undersigned counsel, hereby

moves for partial summary judgment as to liability on Count III of Plaintiff’s First

Amended Complaint, pursuant to Rule 56 of the Federal Rules of Civil Procedure.

For the reasons set forth more fully in the accompanying Memorandum of Law,

Statement of Undisputed Material Facts, and Exhibits and Declaration attached

thereto, the undisputed material facts establish as a matter of law that partial

summary judgment on liability should therefore be granted in Plaintiff’s favor.

      Wherefore, Plaintiff respectfully requests that the Court grant his Motion for

Partial Summary Judgment.

      Respectfully submitted, this 20th day of December, 2024.
Case 1:22-cv-04259-SDG   Document 250   Filed 12/20/24   Page 2 of 52




                             By: /s/Von A. DuBose

                             Von A. DuBose, Esq.
                             Georgia Bar No. 231451
                             DuBose Trial Law
                             128 Richardson St. SE
                             Atlanta, GA 30312
                             Tel: (404) 720-8111
                             von@dubosetrial.com

                             Sara Chimene-Weiss*
                             PROTECT DEMOCRACY PROJECT
                             7000 N. 16th Street, Suite 120, #430
                             Phoenix, AZ 85020
                             Tel: (202) 934-4237
                             sara.chimene-weiss@protectdemocracy.org

                             Rachel E. Goodman*
                             John Paredes*
                             PROTECT DEMOCRACY PROJECT
                             82 Nassau Street, #601
                             New York, NY 10038
                             Tel: (202) 579-4582
                             rachel.goodman@protectdemocracy.org
                             john.parades@protectdemocracy.org

                             Jared Fletcher Davidson*
                             PROTECT DEMOCRACY PROJECT
                             3014 Dauphine Street, Suite J
                             New Orleans, LA 70117
                             Tel: (202) 579-4582
                             jared.davidson@protectdemocracy.org

                             Jane Bentrott*
                             Catherine Chen*
                             PROTECT DEMOCRACY PROJECT
                             2020 Pennsylvania Ave. NW, Suite 163
                             Washington, DC 20006
                             Tel: 202-843-3092
                             jane.bentrott@protectdemocracy.org

                                2
Case 1:22-cv-04259-SDG   Document 250   Filed 12/20/24   Page 3 of 52




                             catherine.chen@protectdemocracy.org

                             Lea Haber Kuck*
                             Quinn Balliett*
                             Scott Boisvert*
                             Sonia Qin*
                             Danuta Egle*
                             One Manhattan West
                             New York, NY 10001-8602
                             Tel: (212) 735-3000
                             lea.kuck@probonolaw.com
                             quinn.balliett@probonolaw.com
                             scott.boisvert@probonolaw.com
                             sonia.qin@probonolaw.com
                             danuta.egle@probonolaw.com

                             Rajiv Madan*
                             Paige Braddy*
                             1440 New York Avenue NW
                             Washington, DC 20005
                             Tel: (202) 371-7000
                             raj.madan@probonolaw.com
                             paige.braddy@probonolaw.com

                             Vernon Thomas*
                             Lindsey Sieling*
                             155 N. Wacker Drive
                             Chicago, IL 60606-1720
                             Tel: (312) 407-0648
                             vernon.thomas@probonolaw.com
                             lindsey.sieling@probonolaw.com


                             Counsel for Plaintiff

                             *Admitted Pro Hac Vice




                                3
    Case 1:22-cv-04259-SDG     Document 250       Filed 12/20/24   Page 4 of 52




                   LOCAL RULE 7.1D CERTIFICATION

     I hereby certify that the foregoing Plaintiff’s Motion for Partial Summary

Judgment was prepared double-spaced using Times New Roman font (14 point), in

compliance with Local Rule 5.1B.

     This 20th day of December, 2024.

                                     By: /s/Von A. DuBose

                                            Von A. DuBose, Esq.
                                            Georgia Bar No. 231451
                                            DuBose Miller, LLC
                                            75 14th Street NE, Suite 2110
                                            Atlanta, GA 30309
                                            Tel: (404) 720-8111
                                            dubose@dubosemiller.com




                                        4
     Case 1:22-cv-04259-SDG      Document 250       Filed 12/20/24   Page 5 of 52




                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Plaintiff’s Motion for Partial Summary

Judgment was filed electronically with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to all counsel of record.

      This 20th day of December, 2024.

                                       By: /s/Von A. DuBose

                                              Von A. DuBose, Esq.
                                              Georgia Bar No. 231451
                                              DuBose Miller, LLC
                                              75 14th Street NE, Suite 2110
                                              Atlanta, GA 30309
                                              Tel: (404) 720-8111
                                               dubose@dubosemiller.com




                                          5
  Case 1:22-cv-04259-SDG   Document 250   Filed 12/20/24   Page 6 of 52




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA

                       ATLANTA DIVISION

MARK ANDREWS,                       Case No. 1:22-cv-04259-SDG

         Plaintiff,

    v.

DINESH D'SOUZA, et al.,

         Defendants.

            PLAINTIFF'S MEMORANDUM OF LAW
IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 1:22-cv-04259-SDG    Document 250      Filed 12/20/24   Page 7 of 52




                           TABLE OF CONTENTS

                                                                            Page

TABLE OF AUTHORITIES                                                             iii

INTRODUCTION                                                                      1

UNDISPUTED MATERIAL FACTS                                                         2

       A.   2000 Mules Film Purports to Depict a Criminal Ballot
            Harvesting Scheme and Portrays Plaintiff as a Participant in
            that Scheme                                                           2

       B.   Defendants Made Knowingly False Statements in the Film to
            Support Their Preconceived Narrative about Purported Election
            Fraud                                                                 4

       C.   Defendants Premiered the Film and Widely Promoted It                  7

       D.   A Government Investigation Prompted by an Associate of True
            the Vote Exonerated Plaintiff, But Defendants Continued to
            Accuse Him of Being a Mule                                            8

       E.   The 2000 Mules Book Reasserted Defendants' Defamatory
            Claims                                                               10

       F.   As a Result of Defendants' False Claims about Plaintiff,
            Plaintiff Was Recognized and Has Suffered Substantial Harm           10

STANDARD OF REVIEW                                                               12

ARGUMENT                                                                         12

I.     PLAINTIFF IS ENTITLED TO SUMMARY JUDGMENT ON
       LIABILITY FOR COUNT III                                                   12

       A.   Defendants' Statements Are False, Defamatory, and Of and
            Concerning Plaintiff                                                 13

            1.    Defendants Have Admitted that Their Statements Are
                  False                                                          13
  Case 1:22-cv-04259-SDG    Document 250     Filed 12/20/24     Page 8 of 52




         2.    Defendants' Statements Are Defamatory Per Se                    16

         3.    In the Alternative, Defendants' Statements Are
               Defamatory Within the Meaning of O.C.G.A. § 51-5-1(a)           17

         4.    Defendants' Statements Are Of and Concerning Plaintiff          18

    B.   Defendants' Statements Were Jointly Published                         20

         1.    The Defamatory Statements Are Attributable to All
               Defendants                                                      21

               (a)   The Defamatory Statements in the Film Are
                     Attributable to All Defendants                            21

               (b)   The Defamatory Statements in the Book Are
                     Attributable to All Defendants                            23

               (c)   The Defamatory Promotional Statements Are
                     Attributable to All Defendants                            24

         2.    Each Defendant Is Directly Responsible for the
               Defamatory Statements They Made                                 25

               (a)   The Film, Book, Trailer, and Tucker Carlson
                     Appearance                                                25

               (b)   D' Souza Defendants' Defamatory Promotional
                     Statements                                                25

               (c)   TTV Defendants' Defamatory Promotional
                     Statements                                                26

    C.   As a Matter of Law and Undisputed Fact, Defendants Were, at
         a Bare Minimum, Negligent in Ascertaining the Truth of the
         Defamatory Statements                                                 26

    D.   The Undisputed Facts Establish that Plaintiff Was Harmed              37

CONCLUSION                                                                     38



                                    ii
    Case 1:22-cv-04259-SDG       Document 250    Filed 12/20/24   Page 9 of 52




                          TABLE OF AUTHORITIES

                                       CASES

American Civil Liberties Union, Inc. v. Zeh,
     312 Ga. 647 (2021)                                                          26

Atlanta Journal Co. v. Doyal,
      60 S.E.2d 802 (Ga. Ct. App. 1950)                                          21

Atlanta Journal Co. v. Pearce,
      89 S.E. 759 (Ga. 1916)                                                     20

Bell v. Johnson Publishing Co.,
       2018 WL 357888 (M.D. Ga. Jan. 10, 2018)                                   18

Carbone v. Cable News Network, Inc.,
     No. 1:16-CV-1720-ODE, 2017 WL 5244176 (N.D. Ga. Feb. 15, 2017)              35

Carson v. Allied News Co.,
     482 F. Supp. 406 (N.D. Ill. 1979)                                           36

Eakin v. Rosen,
      2017 WL 5709564 (M.D. Ga. Nov. 27, 2017)                                   19

Echols v. Lawton,
      913 F.3d 1313 (11th Cir. 2019)                                             12

Eddleman v. PetVet Care Centers (Georgia), LLC,
     701 F. Supp. 3d 1299 (N.D. Ga. 2023)                                        20

Eidson v. Berry,
      415 S.E.2d 16 (Ga. Ct. App. 1992)                                          36

FDIC v. Loudermilk,
     826 S.E.2d 116 (Ga. 2019)                                             21, 25

Georgia Society of Plastic Surgeons, Inc. v. Anderson,
     363 S.E.2d 140 (Ga. 1987)                                                   34


                                         iii
   Case 1:22-cv-04259-SDG       Document 250     Filed 12/20/24   Page 10 of 52




Gettner v. Fitzgerald,
      677 S.E.2d 149 (Ga. Ct. App. 2009)                                   26, 36

Harcrow v. Struhar,
     511 S.E.2d 545 (Ga. Ct. App. 1999)                                        29

Harris v. Pierce County,
      No. CV 513-82, 2014 WL 3974668 (S.D. Ga. Aug. 14, 2014)                  20

Hoffman-Pugh v. Ramsey,
     312 F.3d 1222 (11th Cir. 2002)                                            23

Holmes v. Clisby,
     45 S.E. 684 (Ga. 1903)                                                    19

Howe v. Bradstreet Co.,
     69 S.E. 1082 (Ga. 1911)                                               21, 25

Matsushita Electric Industrial Co. v. Zenith Radio Corp.,
     475 U.S. 574 (1986)                                                       12

Reid v. Viacom International Inc.,
      No. 1:14-CV-1252-MHC, 2016 WL 11746046 (N.D. Ga. Sept. 14,
      2016)                                                                    22

Southern Co. v. Hamburg,
      470 S.E.2d 467 (Ga. Ct. App. 1996)                                       20

Saye v. Deloitte & Touche, LLP,
      295 Ga. App. 128, 670 S.E.2d 818 (2008)                                  20

Smith v. Stewart,
      660 S.E.2d 822 (Ga. Ct. App. 2008)                                       18

StopLoss Specialists, LLC v. VeriClaim, Inc.,
     340 F. Supp. 3d 1334 (N.D. Ga. 2018)                              13, 14, 37

Triangle Publications, Inc. v. Chumley,
      317 S.E.2d 534 (Ga. 1984)                                     19, 27, 28, 29


                                          iv
   Case 1:22-cv-04259-SDG     Document 250   Filed 12/20/24   Page 11 of 52




Wolf v. Ramsey,
      253 F. Supp. 2d 1323 (N.D. Ga. 2003)                                    23

Zimmerman v. Al Jazeera America, LLC,
    246 F. Supp. 3d 257 (D.D.C. 2017)                                         27

                                 STATUTES

Fed. R. Civ. P. 56(a)                                                         12

42 U.S.C. § 1985(3)                                                            2

52 U.S.C. § 10307(b)                                                           2

O.C.G.A. § 21-2-385                                                      3, 16

O.C.G.A. § 21-2-566                                                           13

O.C.G.A. § 51-5-1(a)                                                          17

O.C.G.A. § 51-5-4(a)(4)                                                       38

                          OTHER AUTHORITIES

Restatement (Second) of Torts § 575 (1977)                                    37
   Case 1:22-cv-04259-SDG       Document 250       Filed 12/20/24   Page 12 of 52




                                INTRODUCTION

      During the 2020 election, Plaintiff Mark Andrews lawfully delivered his and

his four family members' ballots at an official drop box in Georgia. Defendants

Dinesh D'Souza, Catherine Englebrecht, Gregg Phillips, True the Vote, and

D'Souza Media knew that Mr. Andrews voted lawfully. Despite this, Defendants

produced, promoted, and profited from a film called 2000 Mules (the "Film"), that

accuses Mr. Andrews and others of participating in a highly orchestrated plot to steal

the 2020 election. In Defendants' telling, cell phone geotracking analysis and

surveillance videos featured in the Film and a subsequent book revealed a criminal

conspiracy in which leftist non-profit organizations paid a network of thousands of

"mules," including Mr. Andrews, to traffic illegal ballots and ensure Joe Biden's

victory.

      The undisputed record exposes 2000 Mules to be a work of fiction, both as to

Mr. Andrews specifically and to the broader conspiracy that Defendants claimed to

have uncovered. Defendants all knew that Mr. Andrews was not a "mule" before the

Film premiered—or, at the very least, were negligent as to the truth of that claim.

Defendants have since admitted that 2000 Mules shows footage of Mr. Andrews and

others, depicting them as criminals, falsely and without proof. Nonetheless, in

pursuit of money and political favor, they decided to publish and promote 2000

Mules anyway.

                                          1
     Case 1:22-cv-04259-SDG      Document 250      Filed 12/20/24   Page 13 of 52




        Defendants repeatedly defamed Mark Andrews in service of these lies for

profit. This Court should grant him summary judgment as to liability on his

defamation claim, Count III of the First Amended Complaint, for the reasons stated

below.'

                       UNDISPUTED MATERIAL FACTS

A.      2000 Mules Film Purports to Depict a Criminal Ballot Harvesting
        Scheme and Portrays Plaintiff as a Participant in that Scheme

       The Film is a self-described documentary film that claims to "expose[] a

massive network of coordinated fraud across all five of the states that decided the

[2020 presidential] election." SMF ¶ 1. The Film claims to show actual evidence that

so-called "mules," or "paid criminal traffickers," acted as participants in a "cartel"

whose members were paid to pick up fraudulent ballots from "leftist" nonprofit

centers and then illegally stuff those ballots into drop boxes in key swing states,

including Georgia, to change the outcome and ensure President Biden's victory.

SMF ¶¶ 2, 47, 243.




     Plaintiff has also asserted Count I, Conspiracy In Violation Of 42 U.S.C.
     § 1985(3); Count IV, Invasion of Privacy by False Light; and Count V, Invasion
     of Privacy by Appropriation of Likeness. Plaintiff is not moving for summary
     judgment on those claims. Count II, Violation of the Voting Rights Act 52 U.S.C.
     § 10307(b), was dismissed.


                                          2
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24   Page 14 of 52




      The Film describes "two types of evidence" as being the foundation for its

claim that the illegal conduct of "mules" changed the outcome of the 2020 election:

cell phone "geotracking" evidence and surveillance footage of actual voters who

were geotracked. SMF ¶¶ 3-4, 47. The Film claims that such geotracking is precise

enough to follow a cell phone signal "directly to a drop box" and to exclude phones

that just passed by a drop box without stopping. SMF ¶ 5. The Film also claims that

the people featured in the surveillance video footage were geotracked and are

therefore among the "mules" who were paid to illegally deposit ballots. SMF ¶ 6.

      The Film features surveillance video of the Plaintiff, Mark Andrews, dropping

off five ballots at a Gwinnett Country drop box in the 2020 general election. SMF

¶¶ 36-37, 51. As video of Plaintiff and his white SUV appear on screen during the
film, Defendant Dinesh D'Souza's ("D'Souza") voiceover states: "What you are

seeing is a crime. These are fraudulent votes." SMF ¶ 45.

      Plaintiff has regularly voted in Georgia elections for over 20 years. SMF ¶ 52.

Due to the COVID-19 pandemic, Plaintiff voted in the 2020 election by absentee

ballot. SMF ¶ 53. Along with his own ballot, he also deposited in the official ballot

drop box the absentee ballots of his wife and three adult children, all of whom reside

with him. SMF ¶¶ 51, 53. Under Georgia law, family members are permitted to

deliver ballots on behalf of their family. O.C.G.A. § 21-2-385.




                                          3
     Case 1:22-cv-04259-SDG     Document 250      Filed 12/20/24    Page 15 of 52




B.     Defendants Made Knowingly False Statements in the Film to Support
       Their Preconceived Narrative about Purported Election Fraud

       In December 2020, True the Vote, Catherine Engelbrecht, and Gregg Phillips

(together, "TTV Defendants") developed a theory that there had been extensive

election fraud in the 2020 election involving leftist non-profit organizations paying

individuals to illegally deliver ballots to ballot drop boxes. SMF ¶¶ 243-46. Their

approach to proving this theory was twofold. TTV submitted open records requests

to election officials to obtain surveillance video from ballot drop boxes. SMF ¶ 186.

Additionally, through Phillips' company OpSec, TTV Defendants hired a third-party

vendor, Red Metrics, to purchase and analyze commercially available cell phone

geotracking data. SMF ¶11157, 160-62, 172. The locations included in Red Metrics'

geotracking analysis were ballot drop box locations pulled from a publicly available

website and an enumerated list of nonprofit organizations that Phillips provided.

SMF ¶ 165. Red Metrics set up technological "buffer zones" of "a couple hundred

feet plus or minus" around those locations. SMF ¶¶ 164, 167-68. Then, Red Metrics

conducted a geotracking analysis of mobile devices that had crossed into those

"buffer zones." SMF ¶ 166.

       Red Metrics was also asked by Phillips to review the surveillance footage

received from the open records requests to identify "suspect" footage and to attempt

to match the footage to devices identified in the geotracking analysis. SMF ¶ 185.



                                         4
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24     Page 16 of 52




Red Metrics was unable to match any surveillance footage with the geotracking data,

because the video surveillance simply "didn't line up" with the geotracking data, and

Red Metrics communicated this to Phillips. SMF ¶¶ 190-91. Engelbrecht also knew

that the surveillance video of Plaintiff had not been matched with any geotracking

analysis. SMF ¶ 193.




                                                      SMF ¶¶ 15-17.




                                                                   SMF ¶¶ 21-24. li



                                                                    SMF ¶ 25.

      From the outset, D'Souza and D'Souza Media (together, "D'Souza

Defendants") were aware that the surveillance video was insufficient to demonstrate

wrongdoing. SMF ¶¶ 202-12. After receiving the first batch of surveillance video

from TTV in January 2022, Bruce Schooley (co-owner of D'Souza Media and

producer of the Film, SMF ¶ 31) emailed Nathan Frankowski (editor of the Film,

SMF li 31) and the D'Souzas expressing concern that the videos "just look[] like

                                         5
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24    Page 17 of 52




people dropping off their votes. It never to me looks like multiple ballots. I asked

Gregg [Phillips] in first meeting if he had obvious multi ballot handfuls and I still

don't see any." SMF ¶ 206. Later that day, he wrote that the surveillance video

footage "doesn't convince me and I want it to be true." SMF ¶ 248. Schooley then

emailed TTV Defendants that the footage they had provided showed individuals

"just using the drop box to vote. Nothing illegal." SMF ¶ 204.

      D'Souza Defendants never sought to verify the geotracking analysis. SMF

1[11216-20. In fact, they never even verified that it existed. When Schooley asked

Phillips whether he had the geotracking data, Phillips indicated that it was contained

in two large boxes, which Phillips set on a table, but the filmmakers never asked

Phillips to open the boxes and did not know what they contained. SMF ¶ 219.

      Despite lacking evidence sufficient to verify the existence of an illegal ballot

harvesting scheme, the Defendants pressed on with the production of the Film. TTV

Defendants participated in interviews that were used in the film, SMF ¶ 33, -

                                                            SMF ¶ 34, and are listed

as executive producers of the Film. SMF ¶¶ 10, 14.



                                      SMF ¶ 30. Nevertheless, they were aware that

making false statements about someone could create liability, even if the image was

blurred. SMF ¶¶ 226-27.

                                          6
     Case 1:22-cv-04259-SDG     Document 250      Filed 12/20/24    Page 18 of 52




       In addition to advancing their pre-conceived narrative, Defendants also had

political motivations that factored into their decisions about the production and

editing of the film. SMF ¶¶ 250-54. For example, they coordinated with Donald

Trump and his team during the development of the Film, including showing Trump

earlier versions of the film and implementing a change suggested by Trump that the

film be shortened. Id.

C.     Defendants Premiered the Film and Widely Promoted It

       On May 5, 2022, the Film was premiered at Mar-a-Lago in front of 500

people, with on-stage appearances by Donald Trump, the D'Souzas, Engelbrecht,

and Phillips. SMF ¶ 86. In the surrounding weeks and months, Defendants made

numerous public appearances and social media posts to promote the Film. SMF

¶¶ 88-123. Defendants repeatedly used Plaintiff's image—both blurred and

unblurred—in their promotional efforts. SMF ¶ 91.

       For example, on April 8, 2022, Defendants Engelbrecht and Phillips appeared

on the Charlie Kirk Show to promote the 2000 Mules ballot trafficking narrative.

Video of Plaintiff voting was shown without any blurring of his face or license plate.

While this footage was playing, Engelbrecht and Phillips identified Plaintiff as a

"mule" and stated that his actions were "highly illegal." SMF ¶ 93. Plaintiff's image

was shown again later in the segment with a caption that read, "Ballot Harvesting is




                                          7
     Case 1:22-cv-04259-SDG      Document 250       Filed 12/20/24    Page 19 of 52




illegal in GA!" SMF ¶ 94. TTV Defendants posted the Charlie Kirk Show interview

on the TTV Rumble page, and notified D' Souza Defendants about it. SMF ¶1195-96.

       On May 5, 2022, Engelbrecht appeared on Tucker Carlson Tonight on Fox

News to discuss TTV's work relating to alleged ballot trafficking. SMF ¶ 104. A

clip of Plaintiff voting, with neither his face nor license plate blurred, was played as

Engelbrecht described ballot drop boxes as "a recipe for fraud." Id. One minute later,

Engelbrecht said: "As I sit here tonight, I can tell you there was rampant abuse of

those drop boxes, and the data that we have is immutable and proves it, now

buttressed increasingly by video." Id. TTV posted the interview on its social media

channels, as did Defendant D' Souza. SMF ¶11106-07.

       These are just a few of the many instances in which Defendants used

Plaintiffs image to promote the Film. SMF ¶ 91.

D.     A Government Investigation Exonerated Plaintiff, But Defendants
       Continued to Accuse Him of Being a Mule

       On April 25, 2022, Georgia resident David Cross, whom TTV had recognized

for his "work for free and fair elections in Georgia," SMF ¶ 60 (and who later

attended the Mar-a-Lago premier of the Film, SMF ¶ 86), filed a complaint with the

Georgia State Election Board (the "SEB") featuring still photographs of Plaintiff and

the white SUV he was driving from the same surveillance footage that had been

featured on the Charlie Kirk Show. SMF ¶¶ 55-59. The complaint asserted that "[a]



                                          8
   Case 1:22-cv-04259-SDG        Document 250       Filed 12/20/24    Page 20 of 52




private investigative organization, True the Vote, purchased billions of cell phone

`pings' and they identified this individual by tracking his cell phone pings to multiple

ballot drop boxes." SMF ¶ 57.

      In response, the Georgia Secretary of State conducted an investigation. SMF

¶ 55. Using the license plate number of the white SUV visible in the surveillance

video, the investigator identified Plaintiff's name and home address. SMF ¶ 62. The

investigator conducted further research into the names and number of registered

voters at Plaintiff's home and verified that each of them had voted via absentee

ballot. SMF ¶ 63. The investigator also visited Plaintiff's home and interviewed him,

finding him to be credible, and concluded that Plaintiff did not violate Georgia law

when the deposited his and his family's ballots. SMF ¶¶ 64-65. On May 17, 2022, at

a public hearing of the Georgia SEB the investigator testified about his findings, and

the SEB dismissed the complaint against Plaintiff. SMF ¶¶ 66-68.

      On May 18, 2022, Phillips circulated a news article about Plaintiff's

exoneration in a text message to Engelbrecht and the D'Souzas, stating: "In addition,

this isn't a mule. Didn't reach the threshold." SMF ¶¶ 70-71. Defendant D'Souza

responded, "All good points!" SMF ¶j 72.

      Nevertheless, Defendants did not remove Plaintiff's image from the Film, the

Film's trailer (the "Trailer"), or make any public statement correcting the claim that

Plaintiff was a mule. SMF ¶11 76-78. In fact, Defendant D'Souza continued to claim

                                          9
     Case 1:22-cv-04259-SDG      Document 250      Filed 12/20/24   Page 21 of 52




publicly that Plaintiff was a mule, writing on Twitter that "the only `evidence' the

mule was merely dropping off the votes of his family members is that HE SAID

SO." SMF ¶¶ 73-74.

                SMF ¶ 87. Defendants continued to promote the Film in the weeks

and months that followed. SMF ¶¶ 88-123.

E.     The 2000 Mules Book Reasserted Defendants' Defamatory Claims

       In addition to promoting the Film, in the summer of 2022, D' Souza wrote a

book based on the Film titled 2,000 Mules: They Thought We'd Never Find Out.

They Were Wrong (the "Book"). SMF ¶¶ 124, 132-33.

       In the Book, an image of Plaintiff voting appears in a center full color photo

spread. SMF ¶ 134. The caption on the page with his image reads: "What we see

here are screenshots from the videos of mules stuffing multiple ballots into mail-in

drop boxes. While vote harvesting is legal in some states, typically under restricted

conditions, paid ballot trafficking is illegal across the country. What you are seeing

here is organized crime on behalf of the Democratic Party." Id.

F.     As a Result of Defendants' False Claims about Plaintiff, Plaintiff Was
       Recognized and Has Suffered Substantial Harm

       Individuals who know Plaintiff are able to identify him in the images used in

the Film, Trailer, Book, and promotional content, whether blurred or unblurred. SMF

¶¶ 142-43. All viewers, whether unfamiliar or familiar with Plaintiff, are able to see


                                         10
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24   Page 22 of 52




him in the unblurred footage, including his unblurred face and his unblurred white

SUV, which was used in Defendants' appearances and online posts promoting the

film. SMF ¶¶ 93-107. Reporters were able to identify him and reached out to Plaintiff

and members of his family. SMF ¶¶ 139-40.

      Following the release of the Film, Plaintiff's image appeared in online posts

with comments endorsing hostile actions and threats towards individuals depicted as

ballot mules in the Film. SMF ¶ 145. Plaintiff's wife has personally viewed online

posts threatening her family as a result of Plaintiff's inclusion in the film. SMF

1-, 148. The online threats and posts about the Film have persisted, continuing to

circulate long after the Film's release. SMF ¶¶ 147-48.

      These threats have caused Plaintiff to experience anxiety and fear for his

safety and the safety of his family. SMF 11144. Plaintiff has had to adjust his daily

routine and take additional safety precautions for his family, including upgrading the

security systems in and around his home, to protect against people who may try to

harm them because of his portrayal as a mule by Defendants. SMF ¶¶ 149-51.

      In addition, Plaintiff refrained from pursuing potential employment and other

opportunities due to Defendants' false allegations against him. SMF ¶ 152. Plaintiff

has also changed his voting habits. Prior to 2020, Plaintiff typically voted in person

either on election day or during early voting and he infrequently voted by absentee




                                         11
     Case 1:22-cv-04259-SDG       Document 250       Filed 12/20/24   Page 23 of 52




ballot. SMF ¶ 153. Now, he does not vote in person out of fear that he will be

recognized. Id.

                            STANDARD OF REVIEW

       Summary judgment is appropriate when "there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ.

P. 56(a). Summary judgment is proper "[w]here the record taken as a whole could

not lead a rational trier of fact to find for the non-moving party[.]" Matushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

                                    ARGUMENT

       The undisputed facts establish that Defendants' repeated statements, accusing

Plaintiff of being a ballot "mule" and a criminal, amount to defamation. Plaintiff's

motion for partial summary judgment should therefore be granted and judgment on

liability should be entered in favor of Plaintiff as to Count III.

I.     PLAINTIFF IS ENTITLED TO SUMMARY JUDGMENT ON
       LIABILITY FOR COUNT III

       Under Georgia law, the elements of a defamation claim are: (a) a false and

defamatory statement of and concerning the plaintiff; (b) an unprivileged

communication of the statement to a third party; (c) fault by the defendant

amounting at least to negligence; and (d) harm to the plaintiff—unless the statement

amounts to per se defamation. Echols v. Lawton, 913 F.3d 1313 (11th Cir. 2019);



                                           12
     Case 1:22-cv-04259-SDG     Document 250      Filed 12/20/24    Page 24 of 52




see also StopLoss Specialists, LLC v. VeriClaim, Inc., 340 F. Supp. 3d 1334, 1346

(N.D. Ga. 2018). As detailed below, the undisputed facts establish each of these

elements.

A.     Defendants' Statements Are False, Defamatory, and Of and Concerning
       Plaintiff

            1.     Defendants Have Admitted that Their Statements Are False

       Defendants' statements portraying Plaintiff as a ballot "mule" and as

committing crimes are patently false, as Defendants have admitted. The Film defines

a ballot "mule" as a person that retrieved ballots from leftist non-profits and

deposited those ballots at ten or more drop boxes. SMF ¶¶ 39-44. This is a crime in

the state of Georgia. O.C.G.A. § 21-2-566.

       Defendants, in the Film, Book, and promotional appearances and materials,

portrayed Plaintiff as a ballot "mule," and thus, as someone committing a crime, and

explicitly referred to him as a criminal. In the Film, while surveillance footage of

Plaintiff depositing ballots into a drop box appears on the screen, D 'Souza's

voiceover states: "What you are seeing is a crime. These are fraudulent votes." SMF

¶ 45. In addition, throughout the Film, Defendants broadly accuse the "mules,"

which includes Plaintiff, of criminal conduct, associating the "mules" with

"organized crime," "a cartel," "trafficking," and "violent riots." SMF ¶¶ 1-2, 6-7,

36-37, 43-48. Likewise, the Trailer, used to promote the Film, depicts Plaintiff as a



                                        13
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24    Page 25 of 52




"mule" and accuses him and other "mules" of participating in "organized crime."

SMF ¶¶ 39, 49-50.

      The Book also refers to Mr. Andrews as a "mule" and accuses him of

participating in "organized crime." SMF ¶11134-38. There, Plaintiffs image appears

in a full-color photo spread, showing him depositing ballots at a drop box. The

caption reads: "What we are seeing here are screen shots from the videos of mules

stuffing multiple ballots into mail-in drop boxes. . . . What you are seeing is

organized crime on behalf of the Democratic Party." Id.

      Defendants' defamatory statements were not limited to the Film and Book.

Instead, Defendants spread falsities about Plaintiff on a multitude of television and

podcast appearances, and across social media, over a period of many months. SMF

111188-123. This was the case on The Charlie Kirk Show, where the unblurred

surveillance footage of Plaintiff appeared on screen and Phillips stated: "You're

going to see a voter [Andrews] get out—a mule get out." SMF ¶¶ 93-94.

      Similarly, D'Souza appeared on NTD News to discuss the 2000 Mules

narrative. He also showed the surveillance video of Plaintiff depositing ballots at the

drop box and simultaneously explained that "[2000 Mules] is an exposé of a

coordinated ring of paid ballot trafficking, illegal votes, fraudulent votes being

dumped en masse into mail-in drop boxes." SMF ¶¶ 102-03. And on a billboard in




                                         14
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24    Page 26 of 52




Times Square, Defendants used Plaintiff's image as an example of a ballot "mule,"

in order to promote the Film to the public at large. SMF ¶ 92.

        It is undisputed that Plaintiff is neither a "mule" nor guilty of any election

crimes. Indeed, all Defendants have admitted that Plaintiff is not a "mule." On

May 18, 2022—two days before the Film's public release-Phillips responded to a

news article about Plaintiff, confirming "[Plaintiff] isn't a mule. Didn't reach the

threshold." SMF ¶¶ 71-72. Further, TTV Defendants have acknowledged that the

geotracking data that allegedly formed the central premise of the 2000 Mules

narrative and the defamatory statements about Plaintiff did not include Gwinnett

County, where Plaintiff voted in the 2020 general election, and they have specifically

admitted that Plaintiff's devices were not a part of the "geotracking" study they

commissioned. SMF ¶¶ 81-85, 192-93. On or about November 27, 2024, D'Souza

issued a statement similarly acknowledging that the geotracking data cited as the

basis for 2000 Mules did not include Plaintiff and issued an apology to him. SMF

¶ 85.
        Thus, all Defendants admit that the geotracking data, central to Defendants'

claims, does not show that Plaintiff retrieved ballots from non-profits or went to ten

or more drop boxes or was paid to deposit ballots. Their repeated statements

portraying Plaintiff as a ballot "mule" are false, and Plaintiff is entitled to summary

judgment on this element of the defamation claim.

                                          15
   Case 1:22-cv-04259-SDG        Document 250       Filed 12/20/24    Page 27 of 52




      Moreover, the undisputed evidence affirmatively establishes that Plaintiff did

not commit ballot fraud. Under Georgia law, individuals are permitted to deliver

ballots on behalf of their family members. O.C.G.A. § 21-2-385. This is exactly what

Plaintiff did. SMF ¶1151, 53. The Georgia SEB conducted an investigation into

Plaintiff's participation in the 2020 general election and confirmed just that, publicly

dismissing the complaint against Plaintiff. SMF ¶¶ 63-68.

             2.     Defendants' Statements Are Defamatory Per Se

      To prevail on a claim for defamation, a false statement must also be

defamatory. An assertion that someone has committed a crime constitutes

defamation per se. Opinion and Order, ECF 106, at 39.

      As established above, Defendants' unequivocal statements explicitly accuse

Plaintiff of being a criminal, and also of committing the crime of acting as a ballot

"mule." This amounts to defamation per se. In the Film, Defendants show

surveillance footage of Plaintiff at a drop box with D'Souza's accompanying

voiceover stating: "What you are seeing is a crime. These are fraudulent votes." SMF

¶ 45; see also SMF ¶¶ 1-2, 6-7, 36-37, 43-44, 47. Also in the Film, Engelbrecht

describes the "mules" as "like a cartel. . . like trafficking." SMF ¶¶ 2, 47; see also

SMF ¶¶ 1, 6-7, 33, 42-44, 47-48. In the Trailer, Phillips describes the purported

mules, including Plaintiff, as involved in "organized crime." SMF ¶¶ 49-50. The

Book includes a caption underneath an image of Plaintiff depositing ballots, stating:

                                          16
   Case 1:22-cv-04259-SDG         Document 250    Filed 12/20/24   Page 28 of 52




"What you are seeing here is organized crime on behalf of the Democratic Party."

SMF ¶¶ 134-37. Promotional materials for the Book state "the criminals are still at

large." SMF ¶ 138. In multiple media appearances and other statements promoting

the film, Defendants describe Plaintiff as engaging in "illegal" and "criminal"

conduct. SMF ¶¶ 93-94, 98-100, 103-04, 109-10, 112, 114-15, 117-19, 120, 122-23.

      In sum, the undisputed evidence establishes many, many instances in which

Defendants publicly portrayed Plaintiff as a ballot "mule" and as a criminal. The

words uttered by Defendants are unambiguous and defamatory on their face,

amounting to defamation per se.

            3.     In the Alternative, Defendants' Statements Are Defamatory
                   Within the Meaning of O.C.G.A. § 51-5-1(a)

      The undisputed evidence also establishes that Defendants' statements are

defamatory as a matter of Georgia statutory law. A defamatory statement is one that

"tend[s] to injure the reputation of the person and expos[es] [the person] to public

hatred, contempt, or ridicule." O.C.G.A. § 51-5-1(a).

      Defendants' statements portraying Plaintiff as a ballot "mule" and a criminal

are sufficient to "injure [his] reputation" and "expos[e] [him] to public hatred,

contempt, or ridicule." Numerous threats endorsing and encouraging hostile actions

have targeted Plaintiff and his family. SMF ¶¶ 145-46. Supporters of the Film and

Book have responded as follows: "These mules need to face a firing squad for



                                        17
   Case 1:22-cv-04259-SDG        Document 250       Filed 12/20/24    Page 29 of 52




treason or insurrection. I would be glad to pull the trigger"; "Now we know it was

Treason, mules need to be flushed out . . ."; and "Who can find me their personal

info?!? These traitors need to be DOXXED!! Traitors to the Republic have NO

RIGHTS!! FIND THEM!! EXPOSE THEM TO THE BRIGHT LIGHT OF

JUSTICE!!!" SMF ¶ 145. The record is replete with many more examples of "public

hatred, contempt, or ridicule" that Plaintiff has endured as a result of Defendants'

statements. SMF ¶¶ 145-48. There can be no issue of disputed fact that Defendants'

statements are defamatory.

             4.     Defendants' Statements Are Of and Concerning Plaintiff

      There also can be no dispute that Defendants' defamatory statements are "of

and concerning" Plaintiff. A defamatory statement "must refer to some ascertained

or ascertainable person, and that person must be the plaintiff" Smith v. Stewart, 660

S.E.2d 822, 828 (Ga. Ct. App. 2008). In other words, the plaintiff has the burden of

showing that a publication was "of and concerning her as a matter of identity." Id

"The test is whether persons who knew or knew of the plaintiff could reasonably

have understood that the [portrayal] was a portrayal of the plaintiff." Id. at 829. This

burden is met even if the statement is not universally understood to be about the

plaintiff, so long as "those who knew the plaintiff can make out that [she] is the

person meant." Id.; see also Opinion and Order, ECF 106 at 35 (citing Bell v.




                                          18
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24    Page 30 of 52




Johnson Publ'g Co., LLC, 2018 WL 357888, at *4 (M.D. Ga. Jan. 10, 2018); Eakin

v. Rosen, 2017 WL 5709564, at *3 (M.D. Ga. Nov. 27, 2017)).

      Here, the undisputed record establishes that Plaintiff has satisfied this

requirement because multiple persons did identify him, including at least two

reporters. SMF ¶¶139-43.

      Further, TTV Defendants repeatedly used unblurred footage and images of

Plaintiff as well as his vehicle license plate in promotional appearances for the Film,

all while labeling Plaintiff as a "mule" or "ballot traffick[er]," SMF ¶¶ 93-101. See,

e.g., Triangle Publ'ns, Inc. v. Chumley, 317 S.E.2d 534, 537 (Ga. 1984) (rejecting

the argument that a statement containing a photograph of the plaintiff was not "of

and concerning" her because it referred to her by a pseudonym as being "clearly

without merit"). So, too, did D'Souza, when he reposted the Tucker Carlson

promotional appearance on his social media. SMF ¶ 107.

      Defendants' statements utilizing Plaintiff's blurred image in the Film, Book,

Trailer, and promotional materials are similarly "of and concerning" Plaintiff. SMF

¶¶ 36-37, 39, 45-46, 50-51, 91-92, 102, 108-09, 112-15, 117-19, 123, 134-36. "A
publication must be construed in the light of all the attending circumstances . . . and

all other extraneous matters which will tend to explain the allusion or point out the

person in question," including any "covert meaning" intended to be conveyed to the

reader. Holmes v. Clisby, 45 S.E. 684, 685-86 (Ga. 1903). Relevant circumstances

                                         19
     Case 1:22-cv-04259-SDG      Document 250      Filed 12/20/24    Page 31 of 52




can include, for example, other statements made by a defendant before and/or after

an allegedly defamatory statement that serve to identify the defamatory statement as

being about the plaintiff. See, e.g., Harris v. Pierce Cnty., No. CV 513-82, 2014 WL

3974668, at *16 (S.D. Ga. Aug. 14, 2014); S. Co. v. Hamburg, 470 S.E.2d 467, 471-

72 (Ga. Ct. App. 1996); Atlanta I Co. v. Pearce, 89 S.E. 759 (Ga. 1916).

       Here, both TTV Defendants and D'Souza Defendants had already broadcast

unblurred images of Plaintiff in promotional appearances before the blurred images

were published. SMF ¶¶ 93-101, 104, 106-07. If, "when taken together," a

defendant's statements refer to the plaintiff, it is irrelevant if those statements may

appear vague in isolation. See Hamburg, 470 S.E.2d at 472. Blurring Plaintiff's

image after the fact therefore cannot immunize Defendants. In such circumstances,

the only possible construction of Defendants' intentional, direct photographic

references to Plaintiff is that such publications are of and concerning him.

B.     Defendants' Statements Were Jointly Published

       There is no dispute that the defamatory statements about Plaintiff were

published. O.C.G.A. § 51-5-3; Eddleman v. PetVet Care Centers (Georgia), LLC,

701 F. Supp. 3d 1299, 1312 (N.D. Ga. 2023) (quoting Saye v. Deloitte & Touche,

LLP, 295 Ga. App. 128, 133, 670 S.E.2d 818 (2008)) ("[P]ublication is achieved by

communicating a defamatory statement to anyone other than the person being




                                         20
   Case 1:22-cv-04259-SDG        Document 250       Filed 12/20/24   Page 32 of 52




defamed."). The undisputed evidence establishes that all Defendants are responsible

for the publication of these statements.

             1.     The Defamatory Statements Are Attributable to All
                    Defendants

      The statements and claims made in the Film, Book, and promotional materials

are jointly attributable to all Defendants, such that fault is indivisible and they can

be held jointly and severally liable for the statements.

      When parties jointly publish a statement, or act in concert, they may be held

jointly liable. Howe v. Bradstreet Co., 69 S.E. 1082, 1082 (Ga. 1911) ("All who

engage in the publication of the writing are liable as publishers; and where they

jointly engage in the publication, their act is joint, and they may be jointly sued.");

FDIC v. Loudermilk, 826 S.E.2d 116, 125 (Ga. 2019) ("[I]t has always been true that

where concert of action appears, a joint tortfeasor relation is presented and all joint

tortfeasors are jointly and severally liable for the full amount of plaintiff's

damage."). Further, a "republisher of a defamatory statement is equally liable with

the original publisher thereof." Atlanta J Co. v. Doyal, 60 S.E.2d 802, 809-10 (Ga.

Ct. App. 1950).

                   (a)    The Defamatory Statements             in   the   Film   Are
                          Attributable to All Defendants

      The statements in the Film are directly attributable to all Defendants. Each

individual Defendant stars in the Film and makes defamatory statements. D'Souza


                                           21
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24   Page 33 of 52




narrates the entirety of the Film and voices over the video of the Plaintiff, stating

"[w]hat you are seeing is a crime. These are fraudulent votes." SMF ¶¶ 1-2, 6-7,

43-45, 47. Engelbrecht and Phillips, together and separately, repeatedly discuss the

meaning of "mule" within the Film and Trailer, and Plaintiff is portrayed as falling

within this defamatory categorization. SMF ¶¶ 1-2, 6-7, 33, 36-37, 39, 42-44, 47-50.

Phillips further claims that so-called "mules" participated in "violent riots." SMF

¶ 48.

        Further, D'Souza Defendants and TTV Defendants acted in concert to

produce, edit, and market the Film. A producer and screenwriter of a film may be

held liable for defamatory statements made in that film. See generally, Reid v.

Viacom Int'l Inc., No. 1:14-CV-1252-MHC, 2016 WL 11746046 (N.D. Ga.

Sept. 14, 2016). Here, all Defendants are producers of the Film. SMF ¶¶ 8-10, 14,

21. D'Souza directed, narrated, and promoted the Film.




                      SMF ¶¶ 15-24, 28-29. Further, TTV Defendants procured the

video footage of Plaintiff, licensing and providing it to D 'Souza Defendants for use

in the Film (as well as the Book and related promotional material). SMF ¶¶ 25-26,

30, 37-38, 134, 204-06, 207-08, 211. Engelbrecht and Phillips participated in filmed

interviews to provide content for the Film. SMF ¶¶ 33, 42-44. TTV Defendants were

                                        22
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24   Page 34 of 52




also directly and actively involved in editing the film. SMF ¶¶ 31, 34-35. Indeed,

TTV                                               SMF ¶ 90, actively promoting the

film along with D'Souza Defendants and

                                                            SMF ¶1186, 88-90.

                   (b)   The Defamatory Statements in              the Book Are
                         Attributable to All Defendants

      All Defendants are also directly responsible for the contents of the Book. The

author and contributors of a book may be held liable for defamatory statements made

in the book. See generally, Hoffman-Pugh v. Ramsey, 312 F.3d 1222, 1225 (11th

Cir. 2002); Wolf v. Ramsey, 253 F. Supp. 2d 1323, 1326 (N.D. Ga. 2003). D'Souza

wrote "every word" of the Book and is listed as its author. SMF 11124. TTV

Defendants were also integral to the creation and publication of the book, so much



                                           SMF 11126.

                                                                                SMF

111117-20, 25-30, 37-38, 134. TTV Defendants are directly quoted throughout the

Book, including interviews from TTV Defendants about the mules theory. SMF

¶¶ 136-37. Indeed, without TTV's (flawed) research and recorded interviews, which
they licensed to D'Souza for publication, there would be no narrative to publish in a




                                        23
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24     Page 35 of 52




Book. There can be no dispute that the statements in the book are attributable to all

Defendants.

                   (c)   The Defamatory Promotional                Statements   Are
                         Attributable to All Defendants

      All Defendants made specific defamatory statements while promoting the

Film. SMF ¶¶ 36-39, 49-50, 73-74, 93-95, 98-100, 102-123. These statements are

attributable to all Defendants because they agreed to promote the Film together and

actively worked in concert to do so. SMF ¶¶ 31-32, 34-35, 38-29, 88-90, 96-97, 105.



                                                 SMF ¶¶ 237.

      Further, the undisputed evidence shows Defendants collaborated closely on

certain defamatory promotional appearances and reposted each others' defamatory

statements on various platforms. For instance, D' Souza appeared in conversation

with Englebrecht and Phillips in the Trailer where they define a "mule" and their

purported evidence. SMF 111139, 49-50. When Engelbrecht appeared on the Tucker

Carlson Tonight show, Phillips and D' Souza discussed how to leverage the interview

in support of the Film's promotion, and D' Souza posted the interview on his Rumble

account. SMF ¶¶104-107.

      The fault for each statement is not divisible because each Defendant's

contribution was integral to each statement in the Film, Book, and promotional



                                         24
   Case 1:22-cv-04259-SDG          Document 250    Filed 12/20/24    Page 36 of 52




materials. Thus, not only are the statements attributable to all Defendants, but the

Defendants jointly participated in the publication of the defamation. Accordingly,

the Defendants are jointly liable for that defamation. See Howe, 69 S.E. at 1082;

Loudermilk, 826 S.E.2d at 125.

              2.     Each Defendant is Directly Responsible for the Defamatory
                     Statements They Made

       Even if the Court declines to decide the issue of joint and several liability at

the summary judgment stage, the undisputed evidence establishes that each

Defendant made defamatory statements and therefore the Court should rule in favor

of Plaintiff on liability as to Count III.

                     (a)    The Film, Book, Trailer, and Tucker Carlson
                            Appearance

      As already shown above, both TTV Defendants and D' Souza Defendants are

directly responsible for the publication of defamatory statements made in the Film,

Book, Trailer, and TTV Defendants' appearance on Tucker Carlson, which D' Souza

re-published. See supra Section I.B.1.

                     (b)    D'Souza Defendants'         Defamatory       Promotional
                            Statements

      There can be no dispute that D' Souza Defendants made multiple defamatory

statements in promoting the Film, including by placing a billboard in Times Square

including Plaintiff's image to promote the Film, SMF ¶ 92, appearing on various



                                             25
     Case 1:22-cv-04259-SDG     Document 250      Filed 12/20/24    Page 37 of 52




programs in which D'Souza repeated the falsehood that Plaintiff was a "mule," SMF

     102-03, 108-110, 113-114, 117-19, and in multiple social media posts and

podcast episodes, SMF ¶¶ 73-74, 120-22.

                   (c)    TTV Defendants' Defamatory Promotional Statements

        There can be no dispute that TTV Defendants made multiple defamatory

statements in promoting the Film, including by making statements in the Trailer

about the illegality of the mules' actions and the purported geotracking evidence for

the "mules," SMF ¶¶ 36-39, 49-50, and by appearing on various programs in which

both Engelbrecht and Phillips repeated the falsehood that Plaintiff was a ballot mule,

SMF ¶¶ 93-94, 98-100, 104, 115. TTV Defendants then re-posted these statements

on their social media accounts and further published additional defamatory trailers

on those same accounts. SMF ¶¶ 95, 106, 111-12, 116, 123.

C.     As a Matter of Law and Undisputed Fact, Defendants Were, at a Bare
       Minimum, Negligent in Ascertaining the Truth of the Defamatory
       Statements

        Plaintiff is not a public figure, and therefore he need only show that

Defendants acted with ordinary negligence to prevail on his defamation claim.

Opinion and Order, ECF 106 at 32-33 (citing Am. Civil Liberties Union, Inc. v. Zeh,

312 Ga. 647, 650 (2021)); see also Gettner v. Fitzgerald, 677 S.E.2d 149, 154 (Ga.

Ct. App. 2009) ("To recover in a suit for defamation, a plaintiff who is a private

person must prove that the defendant acted with ordinary negligence."). The


                                         26
    Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24    Page 38 of 52




undisputed facts, as discussed below, establish that Defendants were, at a bare

minimum, negligent in making their defamatory statements about Plaintiff.'

       The standard of care for establishing ordinary negligence by publishers such

as D' Souza Defendants and TTV Defendants is "defined by reference to the

procedure's a reasonable publisher in [their] position would have employed prior to

publishing" the statements at issue. See Triangle Publ'ns, 317 S.E.2d at 537.

       When considering the standard of care in a defamation claim, courts consider

the context of the statements at issue, including the genre and medium of a work in

which they were made. See Zimmerman v. Al Jazeera Am., LLC, 246 F. Supp. 3d

257, 277-28 (D.D.C. 2017) ("It is also significant that . . . the statements at issue in

the instant case were published as part of an editorialized documentary that features

a discernable theme and a story line—circumstances that, together, more readily

imply that the reported statements represent the tested positions of the

investigators."). Given the importance of context, it is particularly significant that

because the Film presents itself as a documentary, SMF ¶111, 21-22, 225, average

viewers will perceive its content and conclusions as factual.




2   While Plaintiff is not required to demonstrate actual malice to establish liability,
    Plaintiff reserves the right to prove at trial that Defendants acted with actual
    malice for the purpose of punitive damages.


                                          27
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24   Page 39 of 52




      In evaluating whether a publisher acted negligently in publishing a false

statement, Georgia courts also consider:

      (1) whether the material was topical and required prompt publication,
      or whether sufficient time was available for a thorough investigation of
      its contents; (2) the newsworthiness of the material and public interest
      in promoting its publication; and (3) the extent of damage to the
      plaintiff's reputation should the publication prove to be false; []and
      (4) the reliability and truthworthiness of the source.

Triangle Publ'ns, 317 S.E.2d at 537. "The thoroughness of the accuracy check a

reasonable person would make before publishing a defamatory statement will vary,

depending on the relative weight of these factors and the circumstances of the case."

Id. Here, the undisputed facts establish that all these factors unquestionably weigh

in Plaintiff's favor, and no reasonable juror could find that Defendants acted within

the standard of care for any of the defamatory statements.

      The first and second factors weigh overwhelmingly in Plaintiff's favor. The

undisputed facts establish that "sufficient time was available for a thorough

investigation." The defamatory statements in this action do not stem from "breaking

news" that was published on traditional news media. See, e.g., SMF ¶¶ 15-31.

Rather, when TTV Defendants initially presented the "findings" of their geotracking

project to D 'Souza Defendants in summer of 2021,

                                                        but rather to present them in

a documentary that ultimately would not be publicly premiered until May 2022.



                                           28
   Case 1:22-cv-04259-SDG        Document 250       Filed 12/20/24    Page 40 of 52




SMF ¶¶ 21-28, 87. Defendants' first-in-time defamatory statement regarding

Plaintiff—during the Charlie Kirk Interview on April 8, 2022, SMF ¶ 93—was made

approximately 1.5 years after TTV Defendants first began investigating their ballot

mules theory, SMF ¶¶ 15-18, 158, and months after TTV Defendants' analysis was

substantially concluded enough to produce the Film, SMF 1124-25, 28-29.

      The undisputed facts confirm Defendants were not expediting release of the

Film due to any "newsworthiness," but rather to prioritize the timing of any release

to further their political agenda, including assisting their preferred candidates, David

Perdue and Donald Trump. See SMF ¶¶ 250-54.

      The third Triangle factor also heavily weighs in Plaintiff's favor. Because

falsely accusing a person of committing a crime is defamation per se, it cannot be

disputed that the "extent of damage" to Plaintiff's reputation is significant. See supra

Section I.A.2.; Harcrow v. Struhar, 511 S.E.2d 545, 546 (Ga. Ct. App. 1999).

      Finally, as detailed below, the fourth factor is overwhelmingly met, as all

Defendants knew or should have known that the so-called "sources" for their claims

lacked "reliability and truthworthiness." Triangle Publ'ns, 317 S.E.2d at 537.

      As to TTV Defendants, the undisputed facts show they had actual knowledge

that the geotracking data and analysis they obtained did not support the conclusions

made in the Film, Book, and promotional statements—not only about Plaintiff

himself but also about the existence of "mules" generally.

                                          29
    Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24    Page 41 of 52




      It is undisputed—in fact, TTV admits—that Plaintiff himself was not

geotracked. SMF ¶¶ 84-85, 193. TTV Defendants also knew that they had no other

evidence that Plaintiff went to any leftist nonprofit to pick up ballots, SMF ¶ 82, or

that Plaintiff was paid to deposit any ballot, SMF ¶ 81.

      But the lack of support for TTV Defendants' statements about Plaintiff was

no mere oversight. TTV Defendants' so-called "geotracking" research did not and

could not prove the central premise of the Film, i.e., that paid ballot traffickers

engaged in a scheme to pick up ballots from nonprofits and then deposit them in

dropboxes. See SMF ¶¶ 2-6, 177-79. Red Metrics—the entity that conducted all the

geotracking analysis for TTV Defendants       analyzed only whether certain mobile

devices appeared within a couple hundred feet of dropboxes and the addresses of

nonprofit organizations provided by Phillips. SMF ¶¶ 164-76. But this did not prove

that a person carrying an identified device visited either a nonprofit or a dropbox,

much less that they were paid to go on "routes" from the former to the latter.

SMF ¶¶ 166-71.3 The cell phone signals were too intermittent and imprecise,




3
    Red Metrics communicated those limitations to Phillips. SMF ¶¶ 177-179.
    Neither TTV Defendants nor any contractor working on their behalf conducted
    any additional geotracking analyses for the Film or Book beyond what Red
    Metrics did. SMF ¶ 184. And Red Metrics analysis did not include any devices
    from Gwinnett County in its analysis. SMF ¶ 192.


                                         30
    Case 1:22-cv-04259-SDG        Document 250    Filed 12/20/24    Page 42 of 52




SMF 1[11171-73, and the buffer zones too large to exclude "false positives,"

SMF ¶¶ 174-76.

       Ignoring these facts, TTV falsely claimed that they worked "to absolutely

ensure that we don't have false positives, meaning including people that should not

have been included" by creating "smoothed out pattern[s] of life" to follow the

"movement" of cell phone signals, identifying only cell phones that were "not going

past a drop box but directly to a drop box," and studying "the timing" of drop box

visits. SMF ¶ 137. But it is undisputed that Red Metrics' geotracking analysis did

none of this. SMF ¶¶ 164-78. The so-called steps that TTV Defendants claimed to

take to establish the very existence of "mules" are themselves a work of fiction.

       In addition—contrary to the claims made in the Film and Book—there was

never any "matching" of geotracking analysis to any surveillance footage in the

Film, and TTV Defendants knew this. SA41'1111189-93. In fact, TTV Defendants did

not possess any surveillance videos from Gwinnett County, where Plaintiff voted,

when Red Metrics conducted its analysis, and therefore Red Metrics could not have

matched that video to geotracking data (even if it had matched other surveillance

footage, which it did not). SMF     192-93.4



4   The undisputed evidence also shows that TTV Defendants were aware of the
    falsity of their claims linking "mules" to violent riots using the Armed Conflict
    Location & Event Data ("ACLED") database.
                                                                               (cont 'd)


                                         31
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24    Page 43 of 52




      Further demonstrating TTV's lack of care, on May 17, 2022 (three days

before the Film's public release), the SEB unequivocally cleared Plaintiff of any

election crimes in a highly publicized public hearing. SMF ¶¶ 66-68. TTV

Defendants were aware of this and shared a news article about Plaintiff's exoneration

with D' Souza. SMF ¶ 71. The film premiered publicly in theaters on May 20, 2022,

and TTV Defendants made no effort to remove Plaintiff's image or stop it from being

used to promote the Film. SMF ¶¶ 76-78, 87.

      With respect to D'Souza Defendants, the only conclusion a reasonable juror

could reach is that if they had exercised even a modicum of due care, they would

have been aware that TTV Defendants—the source of the Film's geotracking and

video surveillance evidence—were not reliable.

      In his role as the creator and producer of the film, D' Souza was expected to

"create the movie and research it," and he was "relied on" by the film's distributor

to fact check the data provided by TTV. SMF ¶ 201. But D'Souza Defendants




                                         SMF ¶ 197. Phillips knew, and informed
   D'Souza, that ACLED did not track cell phone IDs. SMF ¶¶ 198-99.
   Nevertheless, Phillips claimed in the Film that dozens of mules "show up on the
   ACLED databases," SMF ¶¶ 48, 196, and D'Souza claimed in the Book that
   Phillips compared the cellphone IDs of mules with those of "the violent rioters
   in the ACLED database." SMF ¶ 130. Ultimately, the Book was recalled due in
   part to these misrepresentations and the Book's publisher entered into a
   settlement with ACLED. SMF ¶¶ 127-31.


                                        32
   Case 1:22-cv-04259-SDG         Document 250     Filed 12/20/24   Page 44 of 52




undertook none of the steps to be expected of journalists or documentary filmmakers

to discern the reliability of their sources.

      Among other things, D' Souza Defendants:

       •

                                                                      SMF ¶ 220;

       • made no efforts to verify TTV Defendants' methodology or conclusions

           with any actual expert in surveillance or geotracking, SMF ¶¶216-20,

           222-23;

       • never reviewed any of the "geotracking" data TTV claimed to rely on

           which served as the basis for the Film and Book, SMF ¶ 219;

       • never saw Phillips' so-called computing center that they recreated in the

           Film and Book, SMF ¶ 217;

       • did not fact check the assertion that "mules" were present at riots,

           SMF ¶ 48, even after the Book was recalled for misrepresenting ACLED

           data, SMF ¶¶ 48, 129-32, 195-200;

       • did not investigate the nonprofits TTV Defendants had named as "stash

           houses," even though they emphasized the importance of following the

           money to those organizations, had a list of "stash houses" they could have

           investigated, and were aware that geotracking did not and could not




                                           33
   Case 1:22-cv-04259-SDG          Document 250    Filed 12/20/24    Page 45 of 52




          support statements about locating "mules" at the offices of specific

          nonprofits, SMF ¶¶ 170-78, 213-14; and

      • had no evidence that Plaintiff or anyone else was paid to deposit any ballots

          or went to any leftist nonprofit to pick up ballots, instead basing the

          assertion that "mules" were paid on nothing more than speculation,

          SMF ¶¶ 82, 224.

      Relying on unverified data from uncredentialed individuals plainly is not

enough to be considered ordinary care. See Georgia Soc'y of Plastic Surgeons, Inc.

v. Anderson, 363 S.E.2d 140, 143 (Ga. 1987) (upholding liability where defendants

relied on other articles and "rumors," but did not perform "any independent research

or investigation of the facts").

      D'Souza Defendants also became aware that TTV's claims were

unsubstantiated during the making of—and, importantly, before the release of—the

Film. SW' ¶¶ 202-12. D' Souza asked repeatedly for video of the same person going

to multiple drop boxes, and knew his team had looked and found nothing. SMF

¶¶ 210-12. D'Souza himself even raised this lack of evidence as a concern during
the film-making process. SMF ¶ 210. D'Souza Defendants never found a single

person who was approached, but declined, to participate as a mule. SMF 4I 215.

      As if the red flags raised during the film-making process were not enough,

D' Souza was on actual notice of the falsity of the statements concerning Plaintiff no

                                         34
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24    Page 46 of 52




later than May 18, 2022 (two days before the Film's public release), when Phillips

texted him that SEB unequivocally cleared Plaintiff of any election crimes and

confirmed Plaintiff "isn't a mule." SMF ¶¶ 71-72. Englebrecht also advised D' Souza

around this time that "nonmule" video appeared in the Film, which D' Souza ignored.

SMF 1175.

      Nevertheless, the undisputed evidence establishes that D 'Souza Defendants

took no action to remove Plaintiff's image from the Film, which they publicly

released in theaters on May 20, 2022, two days after Phillips informed D' Souza that

Plaintiff "isn't a mule." SMF ¶1171-72, 75-78, 87. The undisputed facts further

demonstrate that D' Souza thereafter doubled-down on this falsehood, repeatedly

accusing Plaintiff of being a "mule" in subsequent appearances promoting the Film

over the following months. See, e.g., SMF ¶¶ 102-03, 108-10, 113-14, 117-19. These

undisputed facts alone are sufficient to establish that D 'Souza Defendants acted, at

the very least, negligently in publishing not only the Film but also any subsequent

defamatory statements portraying Plaintiff as a mule or criminal. Cf. Carbone v.

Cable News Network, Inc., No. 1:16-CV-1720-ODE, 2017 WL 5244176 at *8 (N.D.

Ga. Feb. 15, 2017) (prior notice by government agency and plaintiff that statements

are false is sufficient to show news agency's actual malice in making statements),

aff'd in part, dismissed in part on other grounds, 910 F.3d 1345 (11th Cir. 2018).




                                        35
   Case 1:22-cv-04259-SDG        Document 250      Filed 12/20/24    Page 47 of 52




      Finally, in addition to receiving (and ignoring) Plaintiff's cease-and-desist

letter, D'Souza was also forced to recall the Book after learning that the Book had

inaccurately portrayed data connecting mules to violent riots and had made baseless

claims about nonprofit groups, all of which should have caused him to further

question the reliability and veracity of TTV Defendants. SMF ¶¶ 127-32.

                                         ***



      Courts have routinely found defendants negligent on facts far less egregious

than those here. See Gettner, 677 S.E.2d at 156 (reversing summary judgment

denying defamation claim where evidence showed defendant had "ample

opportunity" over months to conduct a more thorough investigation, should have

questioned her source's reliability, and failed to verify with those who had first-hand

knowledge); Eidson v. Berry, 415 S.E.2d 16, 18 (Ga. Ct. App. 1992) (holding that

defendant's assumption that plaintiffs' conduct was illegal with no other evidence

could be "sufficient to authorize any reasonable jury's finding that [the defendant]

acted with reckless disregard for the truth in accusing the [plaintiff] of violating

federal law"); Carson v. Allied News Co., 482 F. Supp. 406, 408 (N.D. Ill. 1979)

(granting summary judgment for plaintiffs on defamation claim where evidence

showed defendants recklessly disregarded the truth by publishing article containing

facts they did not investigate or were "sheer fabrication"). The Court should grant

summary judgment on Defendants' negligence.

                                         36
     Case 1:22-cv-04259-SDG     Document 250      Filed 12/20/24    Page 48 of 52




D.     The Undisputed Facts Establish that Plaintiff Was Harmed

       The record indisputably shows that Plaintiff suffered special harm as a result

of Defendants' defamation, and thus this Court must find that, as a matter of law,

Defendants are liable.

       A plaintiff is entitled to damages if either the defendant's defamatory

communication constitutes defamation per se or the plaintiff proves that he suffered

monetary loss or "special damages" as a result of the defendant's actions. GA Code

§ 51-5-4 (damages inferred where defamatory statement imputes "to another a crime

punishable by law); GA Code § 51-5-5 (malice inferred); StopLoss Specialists, 340

F. Supp. 3d at 1349-50; see also Restatement (Second) of Torts § 575 (1977)

("Special harm . . . is the loss of something having economic or pecuniary value.").

       In the aftermath of the 2020 general election and the incendiary political

rhetoric and acts of violence that followed it, Defendants' Film and Book accused

Plaintiff of being a criminal ballot mule and of participating in election fraud.

Foreseeably, consumers of the Film and Book took to social media to threaten and

intimidate the "mules" identified in the film, specifically Plaintiff SMF ¶¶ 145-48.

       As a result of these threats, Plaintiff has expended money and resources to

take reasonable steps to ensure his family's safety. Plaintiff had to purchase a home

security system, a subscription to a home monitoring service, and extra security

cameras and floodlights for his home. SMF ¶¶ 150-51. He also had to expend money

                                         37
   Case 1:22-cv-04259-SDG       Document 250      Filed 12/20/24    Page 49 of 52




to replace his vehicle license plate. SMF ¶ 150. Finally, Plaintiff had to pay for

security services to scrub his and his family's personal information from various

websites. SMF ¶ 150.

      Plaintiff has conclusively established that he has incurred monetary loss that

"flows   naturally"    from   Defendants'     defamatory     statements.   O.C.G.A.

§ 51-5-4(a)(4).

                                 CONCLUSION

      For the reasons set forth above, Plaintiff' Motion for Partial Summary

Judgment must be granted, and judgment should be entered for Plaintiff as to liability

on Count III of the First Amended Complaint pursuant to Fed. R. Civ. P. 56.




                                         38
  Case 1:22-cv-04259-SDG   Document 250   Filed 12/20/24   Page 50 of 52




Dated: December 20, 2024        Respectfully submitted,

                                By: /s/Von A. DuBose

                                Von A. DuBose, Esq.
                                Georgia Bar No. 231451
                                DuBose Trial Law
                                128 Richardson St. SE
                                Atlanta, GA 30312
                                Tel: (404) 720-8111
                                von@dubosetrial.com

                                Sara Chimene-Weiss*
                                PRO lECT DEMOCRACY PROJECT
                                7000 N. 16th Street, Suite 120, #430
                                Phoenix, AZ 85020
                                Tel: (202) 934-4237
                                sara.chimene-weiss@protectdemocracy.org

                                Rachel E. Goodman*
                                John Paredes*
                                PROTECT DEMOCRACY PROJECT
                                82 Nassau Street, #601
                                New York, NY 10038
                                Tel: (202) 579-4582
                                rachel.goodman@protectdemocracy.org
                                john.parades@protectdemocracy.org

                                Jared Fletcher Davidson*
                                PROTECT DEMOCRACY PROJECT
                                3014 Dauphine Street, Suite J
                                New Orleans, LA 70117
                                Tel: (202) 579-4582
                                jared.davidson@protectdemocracy.org

                                Jane Bentrott*
                                Catherine Chen*
                                PROTECT DEMOCRACY PROJECT
                                2020 Pennsylvania Ave. NW, Suite 163

                                 39
Case 1:22-cv-04259-SDG   Document 250   Filed 12/20/24   Page 51 of 52




                              Washington, DC 20006
                              Tel: 202-843-3092
                              jane.bentrott@protectdemocracy.org
                              catherine.chen@protectdemocracy.org

                              Lea Haber Kuck*
                              Quinn Balliett*
                              Scott Boisvert*
                              Sonia Qin*
                              Danuta Egle*
                              One Manhattan West
                              New York, NY 10001-8602
                              Tel: (212) 735-3000
                              lea.kuck@probonolaw.com
                              quinn.balliett@probonolaw.com
                              scott.boisvert@probonolaw.com
                              sonia.qin@probonolaw.com
                              danuta.egle@probonolaw.com

                              Rajiv Madan*
                              Paige Braddy*
                              1440 New York Avenue NW
                              Washington, DC 20005
                              Tel: (202) 371-7000
                              raj.madan@probonolaw.com
                              paige.braddy@probonolaw.com

                              Vernon Thomas*
                              Lindsey Sieling*
                              155 N. Wacker Drive
                              Chicago, IL 60606-1720
                              Tel: (312) 407-0648
                              vernon.thomas@probonolaw.com
                              lindsey.sieling@probonolaw.com

                              Counselfor Plaintiff


                              *Admitted Pro Hac Vice


                               40
   Case 1:22-cv-04259-SDG         Document 250      Filed 12/20/24   Page 52 of 52




                           RULE 7.1(D) CERTIFICATE

      The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.


Dated: December 20, 2024                  /s/Von A. DuBose
                                          Von A. DuBose, Esq.
                                          Georgia Bar No. 231451
                                          DuBose Trial Law
                                          128 Richardson St. SE
                                          Atlanta, GA 30312
                                          Tel: (404) 720-8111
                                          von@dubosetrial.com

                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the within and

foregoing PLAINTIFF'S MEMORANDUM IN SUPPORT OF ITS MOTION

FOR PARTIAL SUMMARY JUDGM ENT was electronically filed with the Clerk

of Court using CM/ECF system, which will automatically send email notification of

such filing to all attorneys of record.


Dated: December 20, 2024                  /s/Von A. DuBose
                                          Von A. DuBose, Esq.
                                          Georgia Bar No. 231451
                                          DuBose Trial Law
                                          128 Richardson St. SE
                                          Atlanta, GA 30312
                                          Tel: (404) 720-8111
                                          von@dubosetrial.com




                                           41
